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August 29, 2024

VIA EMAIL

J. Walker & Associates, LLC
3421 Main Street, Suite A
Atlanta, GA 30337
Attention: James Walker, Jr. (jjwalker@walkerandassoc.com)

Re: “Hold On, I’m Coming” a/k/a “Hold On, I’m Comin’”

Dear Mr. Walker:

We are advised that you are counsel to Isaac Hayes Enterprises, LLC and the Estate of Isaac Hayes. Per your request, we are
writing to confirm the following:

    1.   Pursuant to the Asset Purchase Agreement dated as of March 1, 2023 between Isaac Hayes Enterprises, LLC (“IHE”)
         and Cotton Picking Soul Music, LLC (“CPSM”), each individually and doing business as Bubba Lee Music, Inc.
         (BMI), Lili Ann Music (BMI), Afro Music, Inc.(BMI), Super Blue Music (BMI), East Indies Music (BMI), and
         Incense Productions, Inc. (BMI), Jacqueline Fields (“JF”), Melanie M. Hayes (“MMH”), Vincent Hayes (“VH”),
         Darius Caston (“DC”), Isaac Hayes III (“IHIII”), Lili White a/k/a Lili Ann Marie Bryant (“LW”), Veronica Patterson
         a/k/a Veronica Hayes (“VP”), Naa Adjowa Hayes a/k/a Margaret Hayes a/k/a Margaret McCord (“NAH”), Nana
         Kwadjo Hayes a/k/a Kojo Hayes (“NKH”), Heather Harley (“HH”), Felecia Hayes a/k/a Felecia Fisher (“FH”), and
         Nikki Hayes a/k/a Antishun Nicole McGee a/k/a Nicole Hayes a/k/a Nicole McGee a/k/a Nikki McGhee (“NH”) (IHE,
         CPSM, JF, MMH, VH, DC, IHIII, LW, VP, NAH, NKH, HH, FH, NH, and their respective Affiliates, (individually
         and collectively, “Grantor”) on the one hand, and Primary Wave Music IP Fund 3, LP (“Primary Wave”), on the other
         hand (the “Asset Purchase Agreement” or “APA”), Primary Wave acquired fifty percent (50%) of Grantor’s right,
         title and interest in and to the composition entitled “Hold On I’m Coming” a/k/a “Hold On, I’m Comin’” (the
         “Composition”) and is currently a co-owner of the Composition.
    2.   Pursuant to the APA, in addition to the administration rights in its acquired share of the Composition copyright,
         Primary Wave acquired the exclusive right to administer the Grantor Retained Interest (as defined in the APA) in the
         Composition, and, as such, Primary Wave has the exclusive right to prosecute all copyright infringement actions in
         respect of both its own copyright interests and the Grantor Retained Interest in the Composition.
    3.   Primary Wave’s third party administrator of its rights in the Composition is Songs of Universal, Inc. (“UMPG”). As
         such, UMPG is the current administrator of both Primary Wave’s copyright interests and the Grantor Retained Interest
         in the Composition, and, by way of Primary Wave’s agreement with UMPG, UMPG controls the right to prosecute
         all copyright infringement actions with respect to Primary Wave’s and Grantors’ rights in the Composition.
    4.   Primary Wave understands that Grantor wishes to prosecute a claim against Donald J. Trump and other parties which
         alleges copyright infringement arising out of uses of the Composition in connection with Mr. Trump’s 2020 and 2024
         presidential campaigns (the “Claim”).

Primary Wave does not wish to prosecute the Claim or for UMPG to prosecute the Claim on its behalf. Accordingly, this letter
will confirm that Primary Wave is granting to Grantor the limited right to prosecute the Claim solely in respect of the Grantor
Retained Interest in the Composition.
Please let us know if we may be of any further assistance.
With our kind regards,




Amy Ortner
Chief Business Affairs Officer & General Counsel

cc via email: Isaac Hayes, III


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